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                                                                  Hearing Date: June 25, 2015
                                                                  Time: 10:30 a.m.
                                                                  Location: Utica, New York

 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK

 In re:                                                           Chapter 11
                                                                  Case No. 15-60823
          NIRVANA, INC., et al.,1                                 Main Case

                                                                  Jointly Administered
                                              Debtors.


                 MOTION FOR ENTRY OF AN ORDER, PURSUANT TO
        11 U.S.C. §§ 105(a) AND 363(b), AUTHORIZING DEBTOR NIRVANA, INC.
     TO PAY PREPETITION CLAIM OF ORTHODOX UNION AS A CRITICAL VENDOR


          Debtor Nirvana, Inc. (“Nirvana”), a debtor and debtor in possession in the above-

 captioned chapter 11 cases, by and through its undersigned counsel, Bond, Schoeneck

 & King, PLLC, hereby moves this Court (this “Motion”) for entry of an order, pursuant to

 §§ 105(a) and 363(b) of title 11 of the United States Code, as amended (the

 “Bankruptcy Code”), authorizing Nirvana to pay the prepetition claim (the “Critical

 Vendor Claim”) asserted by the Orthodox Union. In support of this Motion, Nirvana

 respectfully represents as follows:

                                            JURISDICTION

          1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157

 and 1334, and this matter is a core proceeding within the meaning of 28 U.S.C.

 § 157(b)(2).


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
 identification number, are: Nirvana, Inc. (5474), Nirvana Transport, Inc. (6503), Nirvana Warehousing, Inc.
 (2646) and Millers Wood Development Corp. (8040).


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           2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

 1409.

           3.      The statutory predicates for the relief requested herein are §§ 105(a) and

 363(b) of the Bankruptcy Code.

                                              BACKGROUND

           4.      On June 3, 2015 (the “Petition Date”), Nirvana and its affiliates Nirvana

 Transport, Inc., Nirvana Warehousing, Inc. and Millers Wood Development (collectively,

 the “Debtors”) filed separate voluntary petitions for relief under chapter 11 of the

 Bankruptcy Code with the United States Bankruptcy Court for the Northern District of

 New York (the “Court”), commencing the Debtors’ chapter 11 cases (the “Chapter 11

 Cases”). The Debtors continue to operate their businesses and manage their properties

 as debtors in possession pursuant to §§ 1107(a) and 1108 of the Bankruptcy Code. No

 request for a trustee or examiner has been made in these Chapter 11 Cases and, as of

 the date of the filing of this Motion, no official committees have been appointed or

 designated. The Chapter 11 Cases are being jointly administered pursuant to an order

 of joint administration entered by the Court on June 4, 2015.

           5.      Nirvana is a manufacturer and bottler of spring water that is captured from

 four2 natural springs on 1,600 acres of property located in the foothills of the Adirondack

 Mountains at Forestport, New York. The Debtors are four affiliated companies that

 each plays a specific functional role in the overall bottling operation. Nirvana is the core

 business that produces and packages the bottled water.              Nirvana Transport, Inc.

 provides transportation services to Nirvana and other parties.                 Millers Wood


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     Additional springs may be available for use.
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 Development Corp. is the real estate holding company that owns the 1,600-acre

 property and Nirvana Warehousing, Inc. provides warehousing services for Nirvana.

           6.      Nirvana is a closely-held New York corporation with a principal office and

 place of business located at One Nirvana Plaza, Forestport, New York 133383. Nirvana

 was formed on June 2, 1995 by brothers Mansur and Mozafar Rafizadeh. Mansur is the

 chairman and Mozafar is the president and chief executive officer of the company.

 They each own 50% of Nirvana’s common stock, and are assisted in the operation of

 the company by Chief Financial Officer Edward Wiehl and several managers. Nirvana

 employs 50 full-time employees at its Forestport location, plus five (5) sales

 representatives in the downstate New York/New Jersey area, for a total of 55

 employees. All employees are non-union.

           7.      The spring water bottled by Nirvana comes to the surface by its own

 natural force at 42° Fahrenheit year round and is collected and bottled on site. The

 springs produce approximately 605,000 gallons of water each day. The water is sold in

 a number of bottle sizes and configurations, all presented under the company’s “Nirvana

 Natural Spring Water” brand. Nirvana sells its spring water to leading supermarket

 chains, mass merchandisers, convenience store chains and drug store chains directly

 and through distributors, predominately in the Northeast United States.

           8.      The purpose of Chapter 11 Cases is to market and sell the Debtors’

 businesses as going concerns to a qualified third-party purchaser under § 363 of the

 Bankruptcy Code.




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     The Debtors’ physical address is 12044 State Route 12, Boonville, New York 13309.
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        9.     The Union of Orthodox Jewish Congregations of America, better known as

 the Orthodox Union (“OU”), is one of the oldest Orthodox Jewish organizations in the

 United States, and is best known for its kosher certification service. It circled-u symbol

 is found on the labels of many commercial and consumer food products, including

 Nirvana bottled water. In addition to permitting the manufacturers of food and beverage

 products certified as kosher to display its certification symbol on their labels, the OU

 also maintains a list of approved products on its website and sends email notifications to

 its members when products are added or deleted from its list of certified kosher

 products.

        10.    A large percentage of Nirvana’s water products are sold in the Tri-State

 area of New York City/New Jersey/Connecticut and the mid-Atlantic states where many

 consumers look for, rely upon, the OU certification symbol when purchasing food and

 beverage products. If Nirvana is not permitted to display the certification symbol on its

 bottled water products, many consumers would stop buying Nirvana’s products, which

 in turn would result in fewer orders from Nirvana’s customers located in that geographic

 area. Nirvana would also be required to discard all of its existing labels that display the

 OU certification symbol and would be required to purchase new labels, at great expense

 to Nirvana.

        11.    OU charges food and beverage manufacturers an annual fee for the right

 to display its certification symbol on their product labels. Nirvana has displayed the OU

 label on its bottled water products for over ten (10) years, and OU bills Nirvana semi-

 annually for the right to use its kosher certification symbol. Currently, Nirvana owes OU




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 $4,505.00 for the period of November 1, 2014 to April 30, 2015, and $4,732.50 for the

 period of May 1, 2015 to October 30, 2015, for a total amount due of $9,237.50.

        12.    On June 9, 2015, OU notified Nirvana that it was terminating Nirvana’s

 right to include the OU certification symbol on its products, effective as of June 1, 2015,

 as a result of Nirvana’s failure to pay the annual fee payments totaling $9,237.50. OU

 also advised Nirvana that it would remove Nirvana’s product listing from the OU website

 and send out an email notification to all of its subscribers notifying them that Nirvana’s

 products were no longer certified as kosher. Nirvana was also directed to remove the

 OU certification symbol from its existing labels, an action that would be impossible, and

 would require Nirvana to spend thousands of dollars to purchase new labels that do not

 bear the OU certification symbol.

 The Proposed Terms and Conditions of Payment of Critical Vendor Claim

        13.    Nirvana proposes to make a single payment in the amount of $9,237.50 to

 OU immediately following the entry of this Court’s order authorizing Nirvana to pay that

 amount as a Critical Vendor Claim. OU has reinstated Nirvana’s authorization to use

 the OU certification symbol on an interim basis pending this Court’s approval of the

 Critical Vendor Claim. Nirvana will not be required to make another semi-annual

 payment to OU for the use of its certification symbol until October 2015, which would

 cover the period of November 1, 2015 to April 30, 2016. Nirvana anticipates that its

 asset sale will be completed by October 30, 2015, and that the purchaser of Nirvana’s

 assets will contract with OU for use of its certification symbol after the sale closing.




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        14.    Nirvana has the funds available to make the $9,237.50 payment to OU

 and has included that sum in its proposed interim cash collateral budget submitted to

 the Court for approval on June 15, 2015.

        15.    OU’s certification is unique and relied upon by many consumers in the

 geographic area where Nirvana sells the great majority of its products. Nirvana

 respectfully submits that it is in Nirvana’s best interest, and the best interests of its

 creditors and estate, to pay OU’s pre-petition claim totaling $9,237.50 as a Critical

 Vendor Claim in this case.

                                     BASIS FOR RELIEF

        16.    The relief requested in this Motion is supported by several provisions of

 the Bankruptcy Code that authorize a debtor to honor prepetition obligations in certain

 circumstances. Courts have recognized each of these statutory provisions as valid

 authority for such payments.

 A.     This Court May Authorize Payment of the Critical Vendor Claim
        Pursuant to §§ 105 and 363 of the Bankruptcy Code

        17.    The relief requested in this motion is authorized pursuant to §§ 105 and

 363 of the Bankruptcy Code. See In re UAL Corp., Case No. 02-48191 (ERW) (Bankr.

 N.D. Ill. Dec. 11, 2002) (essential trade motion relying upon section 363 of the

 Bankruptcy Code is “completely consistent with the Bankruptcy Code”). Section

 363(b)(1) of the Bankruptcy Code authorizes the trustee to use property of the estate

 other than in the ordinary course of business after notice and a hearing. Furthermore,

 the debtor’s decision to use property of the estate outside the ordinary course of

 business must be based upon the debtor’s sound business judgment. See In re

 Chateaugay Corp., 973 F.2d 141, 143 (2d. Cir. 1992); Committee of Equity Security
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 Holders v. Lionel Corp. (In re Lionel Corp.), 722 F.2d 1063, 1071 (2d. Cir. 1983). The

 relief requested in this Motion contemplates payments to be made to a critical vendor

 who has agreed to provide statutorily-mandated services during the post-petition period

 and other consideration in exchange for such payment. As a result, the payment of

 OU’s Critical Vendor Claim is consistent with and appropriate under §§ 105 and 363 of

 the Bankruptcy Code.

       18.    Courts in other jurisdictions have granted similar critical vendor relief in

 other bankruptcy cases. See, e.g., In re Interfaith Medical Center, Inc., Case No. 1:12-

 bk-48226 (CEC) (Bankr. E.D.N.Y. Dec. 27, 2012); In re Global Aviation Holdings Inc., et

 al., Case No. 1:12-bk-40783 (CEC) (Bankr. E.D.N.Y. Mar. 8, 2012); In re The Brown

 Publishing Co., Case No. 8:10-bk-73295 (DTE) (Bankr. E.D.N.Y. May 27, 2010); In re

 The Brooklyn Hospital Center and Caledonian Health Center, Inc., Case No. 1:05-bk-

 26990 (CEC) (Bankr. E.D.N.Y. Nov. 3, 2005); Lyondell Chemical Co., Case No. 1:09-

 bk-10023 (REG) (Bankr. S.D.N.Y. Jan. 23, 2009); In re Bally Total Fitness of Greater

 New York, Inc., Case No. 1:08-bk-14818 (BRL) (Bankr. S.D.N.Y. Jan. 7, 2009); In re

 Frontier Airlines Holdings, Inc., Case No. 1:08-bk-11298 (RDD) (Bankr. S.D.N.Y. May

 15, 2008); In re Calpine Corp., Case No. 1:05-bk-60200 (BRL) (Bankr. S.D.N.Y. Dec.

 21, 2005); In re Delphi Corp., Case No. 1:05-bk-44481 (RDD) (Bankr. S.D.N.Y. Oct. 13,

 2005); In re Delta Air Lines, Inc., Case No. 1:05-bk-17923 (PCB) (Bankr. S.D.N.Y. Sept.

 16, 2005).

 B.    The Court May Rely on the “Necessity of Payment”
       Doctrine and its General Equitable Powers to Grant The Motion

       19.    The “doctrine of necessity” or “necessity of payment” rule is a well-settled

 doctrine that “recognizes the existence of the judicial power to authorize a debtor in a
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 reorganization case to pay pre-petition claims where such payment is essential to the

 continued operation of the debtor.” In re Ionosphere Clubs, Inc., 98 B.R. 174, 176

 (Bankr. S.D.N.Y. 1989); see also In re Financial News Network, Inc., 134 Bankr. 732,

 735-36 (Bankr. S.D.N.Y. 1991) (to invoke the doctrine, debtor must show that the

 payment is “critical to the debtor’s reorganization”). This doctrine is consistent with the

 paramount goal of chapter 11 – “facilitating the continued operation and rehabilitation of

 the debtor.” In re Ionosphere Clubs, 98 B.R. at 176.

        20.    The court’s general equitable powers are codified in § 105(a) of the

 Bankruptcy Code, which empowers the Court to “issue any order, process, or judgment

 that is necessary to carry out the provisions of this title.”       11 U.S.C. § 105(a).          A

 bankruptcy court’s use of its equitable powers to “authorize the payment of pre-petition

 debt when such payment is needed to facilitate the rehabilitation of the debtor is not a

 novel concept.” In re Ionosphere Clubs, Inc., 98 B.R. at 175. Under § 105(a) of the

 Bankruptcy Code, a court “can permit pre-plan payment of a prepetition obligation when

 essential to the continued operation of the debtor.” In re NVR L.P., 147 B.R. 126, 127

 (Bankr. E.D. Va. 1992); see also In re Chateaugay Corp., 80 B.R. 279, 285-86

 (S.D.N.Y. 1987).

        21.    Maintaining its authorization to use OU’s kosher certification symbol is

 absolutely critical to Nirvana maintaining its sale levels in its most important geographic

 market and therefore, is critical to the successful administration of Nirvana’s chapter 11

 case. Accordingly, Nirvana believes that it is in the best interests of its estate, its

 creditors and all parties in interest for the Court to exercise its equitable powers and

 grant Nirvana the authority to pay the Critical Vendor Claim in exchange for OU’s

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 agreement to authorize Nirvana to continue using OU’s certification symbol in the

 ordinary course of its business.

                   WAIVER OF NOTICE AND STAY REQUIREMENTS

        22.    To implement the foregoing successfully, Nirvana seeks a waiver of the

 notice requirements under Bankruptcy Rule 6004(a) and any stay of an order granting

 the relief requested herein pursuant to Bankruptcy Rule 6004(h), 7062, 9014 or

 otherwise.

                                          NOTICE

        23.    Notice of this Motion has been given to (i) Orthodox Union; (ii) counsel for

 Orthodox Union; (iii) the Office of the United States Trustee for the Northern District of

 New York; (iv) counsel for the Debtors’ prepetition secured lenders; (v) Nirvana’s twenty

 largest unsecured creditors; and (vi) all entities known to have filed a notice of

 appearance or a request for receipt of chapter 11 notices and pleadings filed in the

 Debtors’ cases as of the date hereof. In light of the nature of the relief requested

 herein, Nirvana submits that no further notice is required.

                                    NO PRIOR REQUEST

        24.    Nirvana previously filed a motion seeking authorization to pay a portion of

 the pre-petition claim of TOMRA Pacific, Inc. in the amount of $120,100.00 as a critical

 vendor claim in Nirvana’s case. No prior motion for the relief requested with respect to

 OU’s pre-petition claim, however, has been made to this or any other court.




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                                      CONCLUSION

       WHEREFORE, for the reasons set forth herein, Nirvana respectfully requests

 that the Court enter an order authorizing Nirvana to pay Orthodox Union’s Critical

 Vendor Claim in the amount of $9,237.50, and granting such other and further relief as

 the Court deems just and proper.


 Dated: June 15, 2015
        Syracuse, New York                Respectfully submitted,

                                          BOND, SCHOENECK & KING, PLLC


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                                          Proposed Counsel to the Debtors
                                          and Debtors in Possession




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